      Case 1:23-cr-00016-JHR         Document 46        Filed 05/30/23      Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                     -v.-                               23 Crim. 16 (JHR)

CHARLES McGONIGAL and SERGEY                            ORDER
SHESTAKOV,
                             Defendants.

JENNIFER H. REARDEN, District Judge:

      It is hereby ORDERED that:

      1. Trial will commence on June 12, 2024 at 10:00 a.m.

      2. Defendants’ pretrial motions are due February 2, 2024, with the Government’s

         responses due February 16, 2024, and Defendants’ replies, if any, due February 23,

         2024.

      3. Any motions in limine or trial memoranda, as well as proposed voir dire, proposed

         jury instructions, and proposed verdict forms, shall be filed by May 10, 2024. Any

         oppositions to motions in limine or trial memoranda shall be filed by May 24, 2024.

         The parties are directed to Rule 8 of the Court’s Individual Rules and Practices in

         Criminal Cases for further requirements as to the submission of pretrial materials,

         exhibit lists, exhibits, and materials pursuant to 18 U.S.C. § 3500.

      4. Any motions to sever are due May 10, 2024, with responses due May 24, 2024.

      5. A final pretrial conference will be held on May 30, 2024 at 11:30 a.m. The

         conference will occur in Courtroom 12B of the Daniel Patrick Moynihan United

         States Courthouse, 500 Pearl Street, New York, NY 10007.
      Case 1:23-cr-00016-JHR   Document 46   Filed 05/30/23    Page 2 of 2



      SO ORDERED.

Dated: May 30, 2023
       New York, New York


                                                  JENNIFER H. REARDEN
                                                  United States District Judge




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